OPINION — AG — ** EXPENDITURE BY SCHOOL BOARD ** THE TERM USED IN 70 O.S.H. 4-28 AND THAT WHEN SAID STATUTE IS CONSTRUED IN ITS ENTIRETY, IT SIMPLY MEANS THAT, IF A BOARD OF EDUCATION (SCHOOL BOARD), IN CONSTRUING A BUILDING OR MAKING OTHER IMPROVEMENTS, SEES FIT TO HAVE THE WORK DONE ON A CONTRACT BASIS, IT MUST BE DONE UNDER A WRITTEN CONTRACT IF THE CONTRACT WOULD INVOLVE THE EXPENDITURE OF MORE THAN $5000 AND, $1000, THE CONTRACT MUST BE LET TO THE LOWEST BIDDER, UPON SEALED PROPOSALS; BUT THAT A BOARD OF EDUCATION IS NOT REQUIRED TO HAVE SUCH WORK DONE ON A CONTRACT BASIS, IF IT SEES FIT TO DO THE WORK ITSELF (BY PURCHASING THE NECESSARY MATERIALS AND EMPLOYING THE NECESSARY WORKMEN) ON A " FORCE ACCOUNT BASIS " IN WHICH LATER EVENT, HOWEVER, ANY PURCHASE OF MATERIALS INVOLVING AN EXPENDITURE OF MORE THAN $500.00 WOULD HAVE TO BE BY WRITTEN CONTRACT, AND, IF ANY SUCH PURCHASE CONTRACT WOULD INVOLVE THE EXPENDITURE OF MORE THAN $1000 IT WOULD HAVE TO BE LET TO THE LOWEST BIDDER, UPON SEALED PROPOSALS. CITE: 70 O.S.H. 4-28 (JAMES C. HARKIN)